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                                                                       CLERK, U.S. DISTRICT COURT

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    3                                                                CENTRAL DISTRICT OF CALIFORNIA
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    8                     UNITED STATES DISTRICT COURT
    9                   CENTRAL DISTRICT OF CALIFORNIA
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   11 UNILIN BEHEER B.V., and                   CASE NO.: 2:14-cv-02209-BRO (SSx)
      FLOORING INDUSTRIES, LTD.
   12 SARL,
   13                   Plaintiffs,
                                                ORDER ENTERING DISMISSAL
   14        v.                                 WITH PREJUDICE
   15 TROPICAL FLOORING, et al.
   16                   Defendants.
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                           ORDER ENTERING DISMISSAL WITH PREJUDICE
Case 2:14-cv-02209-BRO-SS Document 98 Filed 07/11/16 Page 2 of 2 Page ID #:2018

    1        The Court, having considered Plaintiff Unilin Beheer B.V. and Flooring
    2 Industries, Ltd. SARL (collectively, “Unilin’s”) and Defendants Guntar Salim aka
    3 Bobby Lin aka Bobby Lim, Floorindo, Inc., Tropical Flooring, Maximus Flooring,
    4 Fantastic Flooring, Popular Floorings, KC Industries Co dba K&C Flooring,
    5 Christina & Son, Inc., and Yun Fang Zhang aka Christina Zhang (collectively
    6 “Tropical’s”) joint stipulation to dismiss this action with prejudice and good cause
    7 appearing, hereby orders:
    8        1. Unilin’s claims in this action are dismissed with prejudice;
    9        2. Each party is to bear its own costs, expenses, and attorneys’ fees with
   10 respect to this action; and
   11        3. This Court shall maintain continuing and exclusive jurisdiction over all
   12 matters related to the interpretation and/or enforcement of the Settlement
   13 Agreement.
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   15        IT IS SO ORDERED.
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   17 Dated: July 11, 2016
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                                               ______________________________
   19                                         The Honorable Beverly Reid O’Connell
   20                                         United States District Judge

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                             ORDER ENTERING DISMISSAL WITH PREJUDICE
